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 7   Attorneys for Defendant Slue Railsback

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            FRESNO DIVISION
11

12

13   MICHELLE RIVAS and THOMAS                             1:08-CV-00942 LJO SKO
     KASCHAK,
14                                                     STIPULATION AND [PROPOSED]
                                           Plaintiffs, ORDER FOR DISMISSAL
15
                    v.                                     [Fed. R. Civ. P. 41(a)(1)(A)(ii)]
16
                                                           Action Filed:
17   CALIFORNIA FRANCHISE TAX BOARD,
     et al.,
18
                                         Defendants.
19

20         Plaintiff, Thomas Kaschak, by his counsel, and Defendant, Slue Railsback, by her counsel,

21   hereby stipulate and agree to the dismissal of the above captioned matter in its entirety without

22   prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

23         This Stipulation and Proposed Order is being filed by Defendant at the request of Plaintiff's

24   attorney, James R. Rowe.

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                                                       1
                                                 Stipulation and Order for Dismissal (1:08-CV-00942 LJO SKO)
      Case 1:08-cv-00942-LJO-SKO Document 46 Filed 02/08/12 Page 2 of 2


 1   Dated: February 7, 2012                                                      Respectfully submitted,

 2                                                                                KAMALA D. HARRIS
                                                                                  Attorney General of California
 3                                                                                STEVEN M. GEVERCER
                                                                                  Senior Assistant Attorney General
 4

 5                                                                                /s/Stephen C. Pass
 6                                                                                STEPHEN C. PASS
                                                                                  Deputy Attorney General
 7                                                                                Attorneys for Defendant Slue Railsback

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 9

10   Dated: February 7, 2012                                                      /s/ James R. Rowe
                                                                                  James R. Rowe
11                                                                                The Law Firm of Rowe & Associates
                                                                                  100 North LaSalle St., Suite 1010
12                                                                                Chicago, Illinois, 60602
                                                                                  (312) 345-1357
13                                                                                Attorneys for Plaintiff Thomas Kaschak

14

15                           Based on the parties’ stipulation, this Court DISMISSES without prejudice this entire action and VACATES

16   all pending matters and dates. This Court further DISCHARGES its February 3, 2012 order to show cause and

17   DIRECTS the clerk to close this action.

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19
     IT IS SO ORDERED.
20
21                         Dated:     February 8, 2012                                /s/ Lawrence J. O’Neill
     DEAC_Signature-END:
                                                                                  UNITED STATES DISTRICT JUDGE
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     66h44d
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                                                                             2
                                                                        Stipulation and Order for Dismissal (1:08-CV-00942 LJO SKO)
